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               DOCUMENT 45
            PUBLIC VERSION
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           EXHIBIT 27
 EXHIBIT FILED UNDER SEAL
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    Date:             Monday, September 6 202 1 03:34 PM
    Subject:          RE: Saudi International / Asian Tour announcement
    From:             Scott Peddie
                      Maria O'Connor <                                 >; Padraic Riley
                      <                     >; Mike Oliver <                            >; Kevin Foster
                      <                >; Majed Al Sorour <                               >; Jed Moore
    To:
                      <                             >; Greg Nonnan <                                    >;
                      Stephen Cohen <                        >; Michael Osborne
                      <                         >; Luke Devlin <                        >;
                      Jane MacNeille <                                           >; Gary Davidson
    CC:
                      <                                         >;
    Attachments: image00l.png; Asian Tour Saudi International powered by Softbank Investment Advisors
                 Official Announcement.docx
    Hi Maria,

    Attached is the latest version, following Kevin's amends.

    Thanks,
    Scott


                                          SCOTT PEDDIE
                                          EXECUTIVE DIRECTOR

                                          M:
                                          T:




    From: Maria O'Connor <                                        >
    Sent: 06 September 202116:29
    To: Padraic Riley <                         >; Mike Oliver <                            >; Kevin Foster <                   >;
    Majed Al Sorour <                                 >; Jed Moore <                                   >; Scott Peddie
    <                                    >; Greg Norman <                                       >; Stephen Cohen
    <                            >; Michael Osborne <                                >; Luke Devlin <                       >
    Cc: Jane MacNeille <                                    >; Gary Davidson <                                      >
    Subject: Re: Saudi International/ Asian Tour announcement

    Hi all,

    Please find attached the press release with suggested edits from Teneo.

    Scott, is there an update on the letter?

    Many thanks,
    Maria



    From: Padraic Riley <                                 >
    Date: Monday, 6 September 2021 at 15:01




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    To: Mike Oliver <                                 >, Maria O'Connor <                                               >, Kevin
    Foster <                       >, Majed Al Sorour <                                          >, Jed Moore<
                                          >, Scott Peddie <                                             >, Greg Norman<
                                              >, Stephen Cohen <                                       >, Michael Osborne<
                                      >, Luke Devlin <                         >
    Cc: Jane Mac Neille <                                       >, Gary Davidson <
    >
    Subject: Re: Saudi International/ Asian Tour announcement

    This all looks good. The Teneo team is in agreement with overa ll plan. Makes sense to get letter out quickly, and then follow on
    with press release. Puts things in a great context and adds t o the "watch this space" feeling.

    Maria - can I call you to check on some suggested copy edits on the release?

    pdriley



    Get Outlook for iOS

    From: Mike Oliver <                       >
    Sent: Monday, September 6, 20219:16:41 AM
    To: Maria O'Connor <                                         >; Kevin Foster <                    >; Majed Al Sorour <
                                     >; Jed Moore <                                    >; Scott Peddie <
                                         >; Greg Norman <                                        >; Stephen Cohen<
                                 >; Padraic Riley <                          >
    Cc: Jane MacNeille <                                 >; Gary Davidson <                                          >
    Subject: RE: Saudi International/ Asian Tour announcement

    My view would be an immediate player letter (today/tomorrow) followed by a press re lease at a later date. Conscious of the
    timing as the week drags on.

    Understand the letter may leak but we need to give clarity to players with the season now finished.



                                                    Mike Oliver
                                                    Events Director


               ~·
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         ~..e:=~J.._a..lfS
                                                    "' +
                                                    0
                                                    Q golfsaudl.com


                                                                                     ,...~




    From: Maria O'Connor <                                          >
    Sent: Monday, September 6, 202112 :57 PM
    To: Kevin Foster <                    >; Majed Al Sorour <                                  >; Jed Moore<
                                      >; Scott Peddie <                                     >; Greg Norman<
                                          >; Stephen Cohen <                               >; Padraic Riley<




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                               >
    Cc: Jane MacNeille <                                      >; Gary Davidson                                           >; Mike Oliver<
                                   >
    Subject: Re: Saudi International/ Asian Tour announcement


    Thanks, Kevin - that certainly needs t o be considered w ith our timings.

    Stephen, Pat - please could you let us know your recommendations with regards to the letter and press release? (Drafts of
    both attached)

    Many thanks,
    Maria


    From: Kevin Foster <                     >
    Date: Monday, 6 September 2021 at 11 :51
    To: Majed Al Sorour <                                 >, Jed Moore <                                                      >, Scott
    Peddie <                                   >, Greg Norman <                                                           >, Stephen
    Cohen <                            >, Padraic Riley <                                         >
    Cc: Jane MacNeille <                                   >, Maria O'Connor <
                                        >, Gary Davidson <                                                          >, Mike Olive r <
                               >
    Subject: RE: Saudi International / Asian Tour announcement

    Also, just thinking through all potential issues, t here is also t he risk of the European Tour (in conjunction or not with Monahan)
    trying to own t he messaging in t he press once the letter hit s to something along the lines of " it was t he European tour's
    decision to no longer sanction the Saudi International." Another reason to time the letter so it hits right before the press
    release to best control the narrative.


    From: Kevin Foster
    Sent: Monday, September 6, 20211:46 PM
    To: 'Majed Al Sorour' <                                   >; Jed Moore <                                   >; Scott Peddie<
                                          >; Greg Norman <                                         >; Stephen Cohen<
                                   >; Padraic Riley <                        >
    Cc: Jane MacNeille <                                      >; Maria O'Connor <                                          >; Gary
    Davidson <                                        >; Mike Oliver <                                >
    Subject: RE: Saudi International/ Asian Tour announcement


    Some suggested minor edits to the attached from my end. I think the let ter reads well and tells the right story.

    Perhaps stating the obvious here, but the letter will most assuredly leak shortly after it's sent, so ideally the press release is
    ready to go out very shortly thereafter so that our messaging is fu lly out there.

    Kevin


    From: Majed Al Sorour <                                    >
    Sent: Monday, September 6, 20211:41 PM
    To: Jed Moore <                                   >; Scott Peddie <                                        >; Greg Norman<
                                         >; Kevin Foster <                 >; Stephen Cohen <                                        >;
    Padraic Riley <                          >
    Cc: Jane MacNeille <                                   >; Maria O'Connor <                                             >; Gary
    Davidson <                                      >; Mike Oliver <                         >
    Subject: Re: Saudi International/ Asian Tour announcement




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    To report a suspicious email, please forward it to (            ).
    We send to the p layers but no official announcement please

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    From: Jed Moore <                                   >
    Sent: Monday, September 6, 202111:26:11 AM
    To: Scott Peddie <                                   >; Greg Norman <                                                >; Kevin Foster<
                        >; Majed Al Sorour <                              >; Stephen Cohen <                                        >;
    Padraic Riley <                          >
    Cc: Jane MacNeille <                                   >; Maria O'Connor <                                                >; Gary
    Davidson <                                      >; Mike Oliver <                         >
    Subject: RE: Saudi International/ Asian Tour announcement

    Following on from the below trail and in the inte rest of keeping everyone up to speed, attached is the lette r tha t is planned to be
    sent to players and agents to allow us to finalise the sanctioning status and conclude contracts e tc.

    Appreciate any red flags or concerns being raised - as this is planned for relatively immediate distribution.

    Kindest Regards,
    Jed

    -----Original Message-----
    From: Scott Peddie <                                   >
    Sent: 02 Septe mbe r 202 l 15: 19
    To: Jed Moore <                                  >; Greg Norman <                                              > ; Kevin Foster <
                        >; Maj ed Al Sorour <                              >; Stephe n Cohen <                                     >;
    Padraic Riley <                           >
    Cc: Jane MacNeille <                                   >; Ma ria O'Connor <                                               >; Gary
    Davidson <                                      > ; Mike Oliver <                          >
    Subject: RE: Saudi International / Asian Tour announcement

    Good afternoon all,

    In response to Jed's note, please find attached the latest version of our SJ press release w hich is currently in circulation w ith Asian
    Tour ahead of distribution.

    A ll things being well, we w ill look to issue this tomorrow morning.

    Please do le t us know if there are a ny comments.

    Regards,
    Scott

    SCOTT P EDDIE
    EXECUTIVE DIRECTOR
    M:
    T:




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                           Case 5:22-cv-04486-BLF Document 500-16 Filed 09/07/23 Page 7 of 7

    -----Original Message-----
    From: Jed Moore <                                                       >
    Sent: 02 September 2021 14:46
    To: Greg Norman <                                                             >; Kevin Foster <          >; Majed Al Sorour <
                                                >; Stephen Cohen <                             >; Padraic Riley <                         >
    Cc: Jane MacNeille <                                                   >; Maria O'Connor <                                   >; Scott
    Peddie <                                                    >; Ga1y Davidson <                                  >; Mike Oliver <
                                 >
    Subject: Saudi international / Asian Tour announcement

    Dear all,

    As an FYI there is plans to announce the Saudi International as an Asian Tour sanctioned event (not pa11 oft he Premier Series) -
    at $Sm / IO year partnership - aiming for tomorrow.

    No players will be announced.

    It is designed to assist in finalizing contracts / player releases.

    Appreciate if there are any comments / concerns.

    Best
    Jed

    Sent from my iPhone
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